       Case 2:08-cr-00065-TLN Document 85 Filed 06/02/11 Page 1 of 2


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 5
     Attorney for Defendant,
 6   TANEKA NUNLEY

 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                           CASE NO. 08-0065-LKK

11              Plaintiff,                               STIPULATION AND ORDER

12        vs.                                            DATE: June 1, 2011
                                                         TIME: 9:15 AM
13   TANEKA NUNLEY,                                      JUDGE: Hon. Lawrence Karlton

14              Defendant.

15

16          It is hereby stipulated and agreed to between the United States of America through Todd

17   Leras, Assistant U.S. Attorney, and defendant Taneka Raenee Nunley, by and through her

18   attorney, Dan Koukol, that the status conference of June 1, 2011 be vacated and that a status

19   conference be set for June 28, 2011 at 9:15 AM.

20          This continuance is being requested because the parties need additional time to negotiate

21   plea agreements. The government has indicated an intention to revise the offer previously made

22   to Ms. Nunley. When this revised offer is communicated Counsel will promptly convey it to Ms.

23   Nunley at which time a resolution is anticipated.

24          The parties request that the speedy trial time is excluded from the date of this order

25   through the date of the status conference set for June 28, 2011 at 9:15 AM pursuant to 18 U.S.C.
                                                 -1-
       Case 2:08-cr-00065-TLN Document 85 Filed 06/02/11 Page 2 of 2


 1   § 3161(h)(8)(B)(iv) [reasonable time to prepare] (Local Code T4).

 2
     DATED: May 31, 2011                 Respectfully submitted,
 3

 4                                       /s/ DAN KOUKOL
                                         _________________________________
 5                                       DAN KOUKOL
                                         Attorney for defendant Taneka Nunley
 6

 7
     DATED: MAY 31, 2011                 Respectfully submitted,
 8

 9                                       /s/ DAN KOUKOL FOR
                                         _________________________________
10                                       Todd Leras
                                         Assistant U.S. Attorney
11
     IT IS SO ORDERED
12
     DATED: June 1, 2011
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